                                UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF ALABAMA
                                        NORTHERN DIVISION



 In the Matter of:                                     }
                                                       }
                                                       }
 ZUAITER COMPANY, INC.                                 }    Case No. 20-82554-CRJ-11
 EIN: XX-XXX3875                                       }
                                                       }    Chapter 11, Subchapter V
                                      Debtor(s)        }




                                   ORDER TO SHOW CAUSE WHY
                            CASE SHOULD NOT BE DISMISSED FOR FAILURE
                                 TO COMPLY WITH 11 U.S.C. § 1116(1)

         On December 10, 2020, the Debtor filed a voluntary petition for relief under Subchapter V of Chapter 11,
Title 11 of the United States Bankruptcy Code. Pursuant to 11 U.S.C. § 1116(1), the Debtor was required to “(1) append
to the voluntary petition or, in an involuntary case, file not later than 7 days after the date of the order for relief -
(A) its most recent balance sheet, statement of operations, cash-flow statement, and Federal income tax return; or
(B) a statement made under penalty of perjury that no balance sheet, statement of operations, or cash-flow
statement has been prepared and no Federal tax return has been filed.” The Debtor failed to file the required
documents or a statement under penalty of perjury that the documents have not been prepared or that no Federal
tax return has been filed.
         IT IS THEREFORE ORDERED, ADJUDGED and DECREED that counsel for the Debtor must
appear telephonically on January 6, 2021 at 1:30 p.m. before the Honorable Clifton R. Jessup, Jr. and show
cause why the above styled case should not be dismissed for failure to comply with 11 U.S.C. § 1116(1).
         The hearing will be held via an AT&T call-in number. The dial-in number is 1-877-336-1280. When
prompted, enter the access code #2749965. There is no security code, and please do not select any other feature.
Other cases or matters may be scheduled for telephonic hearing at the same time. Parties should call in five
minutes prior to the start of the hearing. Once connected, please mute your phone until your case is called. After
your hearing is completed, please hang up to end your call. To avoid disruption, telephonic hearing participants
are expected to call from a quiet location and are not permitted to use a "speaker" function or to place the call on
hold (as this may cause music or other noises to play during the hearings of other participants). Participants are
encouraged to call from a landline if possible.
         THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME TO THE
COURTHOUSE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL INFORMATION
(www.alnb.uscourts.gov).

        Dated this the 14th day of December, 2020.

                                                        /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge


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